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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
                                  x
IRVING SINGER,                    :
                                  :
                    Plaintiff,    :                  Case No.: 1:20-cv-05133
     vs.                          :
EQUIFAX INFORMATION SERVICES, LLC :
                                  :
                                  :                  NOTICE OF SETTLEMENT WITH
                    Defendant.
                                  :                  DEFENDANT EQUIFAX INFORMATION
                                  :                  SERVICES, LLC
                                  :
                                  :
                                  :
                                  x


       Plaintiff Irving Singer (“Plaintiff”) hereby notifies the Court that the present case has

been settled between Plaintiff and Defendant Equifax Information Services, LLC (collectively,

the “parties”), and states as follows:

       1.      A settlement agreement is in the process of being finalized between the parties.

Once the settlement agreement is fully executed, and Plaintiff has received the consideration

required, the parties will respectfully request that the case be dismissed and closed.

       2.      The parties respectfully request that the Court stay this action as to Defendant

Equifax Information Services, LLC, and adjourn all deadlines and conferences.

DATED: January 28, 2021                       COHEN & MIZRAHI LLP
                                              MISTY OAKS


                                                                 /s/ Misty Oaks
                                                                 MISTY OAKS
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